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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ____________________________________

 UNITED STATES OF AMERICA,



                   vs.
                                                  Case No.      13-Cr-220 (RJD)
 BEBARS BASLAN,


                  Defendant.
 ____________________________________




   MEMORANDUM OF LAW IN SUPPORT OF BEBARS BASLAN’S MOTION
  PURSUANT TO 18 U.S.C. § 3582(c)(1)(A) FOR A REDUCTION OF SENTENCE




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                                        INTRODUCTION

        On February 27, 2015, this Court sentenced Bebars Baslan to a term of imprisonment of

 36 years, following his conviction after trial for charges of crossing state lines to sexually

 exploit a child, possession of child pornography, and related counts. Mr. Baslan’s conduct, his

 behavior during and after the trial, and his seeming lack of remorse persuaded the Court that

 Mr. Baslan was likely beyond redemption, and its sentence reflected that sentiment. While 36

 years was an extraordinary sentence in light of the fact that the primary charge – crossing state

 lines with the intent to sexually exploit a young child – was a sting operation that was never

 going to occur, the Court had become convinced that Mr. Baslan was “one of the few folks that

 I've come cross, with due respect, Mr. Baslan -- and I hope it changes -- that has to be put

 away. And in my way of thinking, there are not that many who do, certainly not for this length

 of time. But we have to protect others from folks like you.” Sentencing Transcript at 23,

 Exhibit A.

        It is rare that a sentencing court has the opportunity to take a second look, a chance to

 re-evaluate whether the original sentence, extraordinary as it was, remains warranted under

 the circumstances and continues to comport with justice. The First Step Act, and the Second

 Circuit’s interpretation of that statute, provide the Court with such an opportunity. The

 burden rests heavily on the defendant, as it should. But if the defendant can establish

 extraordinary and compelling reasons for why a sentence reduction may be appropriate, and

 such a reduction is consistent with the factors set forth at 18 U.S.C. § 3553(a), a court has the

 discretion to reduce a formerly imposed sentence in the interests of justice.

        It seemed perhaps inconceivable in 2015, but Bebars Baslan has taken exceptional steps

 in prison to change himself. As will be detailed at length below, his transformation has been

 remarkable, and is continuing. Although rehabilitation alone cannot serve as the basis of a

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 sentence reduction under 18 U.S.C. § 3582, it can, in combination with other factors, be part of

 the “full slate of extraordinary and compelling reasons that an imprisoned person might bring

 before them in motions for compassionate release.” United States v. Brooker, 976 F.3d 228, 237

 (2d Cir. 2020). The horrific impact the COVID-19 pandemic has had on federal prisoners in

 general, and Bebars Baslan specifically, serves as such an extraordinary and compelling reason,

 as it has for numerous inmates across the country.

        We want to be clear at the outset: Mr. Baslan is not seeking compassionate release.

 Rather, for the reasons set forth below, we respectfully and sincerely urge the Court to consider

 Mr. Baslan’s tremendous efforts toward rehabilitation during the last six years, along with the

 appalling circumstances of the COVID pandemic and its effect on Mr. Baslan, to conclude that

 extraordinary and compelling reasons exist to reduce Mr. Baslan’s sentence to one that now

 comports with fairness, justice, and the sentencing factors of 18 U.S.C. § 3553(a).



                                   FACTUAL BACKGROUND

        Bebars Baslan and his co-defendant, Kristen Henry, were arrested on March 19, 2013,

 as they were entering a hotel room in Jersey City, New Jersey, with the intention of sexually

 abusing three children under the age of 12. An FBI confidential source had persuaded Baslan

 and Henry that he would bring these children (to whom he claimed to be related) to the hotel

 and Baslan could photograph and videotape Henry engaging in sexual acts with the children,

 and perhaps to participate himself. See Presentence Report (PSR) at ¶11, Exhibit B.1

        Baslan and Henry had been discussing this plan with the confidential source for several

 days. Id. at ¶¶8-9. They also planned to give the children sedatives so that they would not be




 1The PSR will be redacted from the publicly filed version of this memorandum.



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 aware of what was happening. Id. at ¶ 11. Earlier on the evening of March 19, 2013, the source

 visited Baslan and Henry at their residence in Brooklyn, where Baslan gave him Benadryl and

 orange juice to provide to the children. Id. at ¶ 12. Baslan, Henry, and the source agreed that

 the source would call with a pre-arranged signal when he was at the hotel in New Jersey with

 the children, and Baslan and Henry would then meet him there. Id. at ¶ 11. The FBI arranged

 for the plan to include the crossing of state lines to trigger the provisions of 18 U.S.C. §

 2241(c), which carries a mandatory minimum sentence of 30 years.

        Upon his arrest, Mr. Baslan admitted to FBI agents that he had planned to sedate the

 source’s two children with Benadryl so that they would be asleep, and then have Henry engage

 in sexual conduct with them. However, in his post-arrest statement, Mr. Baslan claimed that

 he had “gotten cold feet” and was not actually going to go through with the plan. Mr. Baslan

 also admitted to having viewed and possessing child pornography and provided FBI agents

 with access to his home. See id. at ¶ 19. The FBI recovered a large cache of child pornography

 from Mr. Baslan’s apartment. See id. at ¶¶ 25, 27.

        Bebars Baslan was ultimately indicted on five counts, which included the Travel Act

 violation, 18 U.S.C. § 2241(c), along with conspiracy to sexually exploit a child, 18 U.S.C. §

 2251(e), attempted sexual exploitation of a child, 18 U.S.C. § 2251(a) (e), and attempted

 coercion and enticement of a minor, 18 U.S.C. § 2422(b). He was also charged with possession

 of child pornography, 18 U.S.C. § 2252(a)(4)(B), for material he had on his home computer. Mr.

 Baslan faced statutory sentencing ranges of 30 years to life on count 1, 15 to 30 years on counts

 2 and 3, 10 years to life on count 4, and 0-20 years on count 5. See PSR at p. 3.

        Throughout the period leading up to his trial, Mr. Baslan made clear through his

 attorney that he would be prepared to plead guilty to the charges in the indictment, including

 those with 15-year mandatory minimums, if the government were to dismiss the Travel Act


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 charge, Count 1. See Ephraim Savitt Affirmation, attached to Govt. Opposition, ECF No. 271,

 at 16 (“…the government rejected my repeated offers that he was prepared to accept a plea deal

 on the condition that the government agreed to the dismissal of the top count.”).

        Because the government never agreed to dismiss that count, Mr. Baslan proceeded to

 trial. However, between the time of his arrest in 2013 and his trial in the following year, Mr.

 Baslan also tried to concoct a series of schemes to avoid taking responsibility for his actions and

 to prevail at trial. As the prosecutor stated at sentencing, during this time Mr. Baslan “had no

 qualms about engaging other people to help him lie, about falsely accusing the government of

 destroying his exculpatory evidence, about submitting false statements to the Court, about

 testifying falsely.” Sentencing Transcript at 18, Exhibit A. Indeed, at the trial Mr. Baslan

 presented what the Court called an “absurd defense,” easily rejected by the jury. Id. at 22.

        Between verdict and sentencing, Mr. Baslan submitted a multitude of pro se motions,

 accused the government, the MDC, and his own lawyer of misconduct, and in the whole

 behaved as someone who had little regard for the Court and seemingly no appreciation of the

 seriousness of his crimes. Not surprisingly, the Court concluded, based on all the evidence

 before it, that even though there was no proof that Mr. Baslan had ever molested a child, his

 stated intention of doing so, along with his extensive possession of child pornography, the tape

 recordings of him discussing all the ways a child could be sexually abused, and his

 reprehensible conduct more generally, no mercy was warranted:

        And the evidence on that score is compelling. Frankly, revolting. You know, I
        take no great pleasure in sentencing anybody. I particularly take very little
        pleasure in imposing lengthy sentences, be they mandatorily-imposed or not.
        Too many of them, I take home with me and I can't get rid of them. But not this
        one. Not this one…[y]ou're one of the few folks that I've come cross, with due
        respect, Mr. Baslan -- and I hope it changes -- that has to be put away. And in
        my way of thinking, there are not that many who do, certainly not for this
        length of time. But we have to protect others from folks like you. Those are
        harsh words. The evidence in this case leaves me no other way to characterize it.
        There's very little to say.

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 Id. at 22-23. The Court imposed a 36-year sentence on Count 1. The sentences on the other

 counts followed suit – 36 years on Count 4 to match the sentence on Count 1, and the statutory

 maximum terms of 30 years on Counts 2 and 3. The Court also imposed the statutory

 maximum sentence of 20 years on Count 5, the child pornography count, to which Mr. Baslan

 had pled guilty right before trial. Id. at 27; Judgment, Exhibit C.

        On February 22, 2021, for exhaustion purposes, Mr. Baslan filed a request with the

 warden of his Bureau of Prisons facility for compassionate release/reduction. That request was

 denied by the warden on February 26, 2021. See Request for Compassionate Release; Denial,

 Exhibit D.



                                           ARGUMENT

 I.     Extraordinary and Compelling Reasons Under 18 U.S.C. § 3582(c)(1)(A)(i) Exist
        to Warrant a Reduction in Bebars Baslan’s Sentence


        A. Legal Standard

        Section 603(b) of the 2018 First Step Act, titled “Increasing the Use and Transparency

 of Compassionate Release,” amended 18 U.S.C. § 3582(c)(1)(A) to provide district courts with

 authority to reduce sentences in cases presenting extraordinary and compelling reasons.

 Previously, only the BOP could make such motions. The amendment removed the BOP as the

 compassionate release gatekeeper because it too infrequently opened the gate. See, e.g., Dep’t of

 Justice, Office of the Inspector General, The Federal Bureau of Prisons’ Compassionate Release

 Program, at 11 (Apr. 2013) (“The BOP does not properly manage the compassionate release

 program, resulting in inmates who may be eligible candidates for release not being

 considered.”). Available at https://oig.justice.gov/reports/2013/e1306.pdf.



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          As a result, compassionate release or sentence reduction motions can now be brought

 directly to the district court under 18 U.S.C. § 3582(c)(1)(A). As the Court well knows,

          compassionate release empowers courts to reduce a defendant's term of
          imprisonment in certain cases when “extraordinary and compelling reasons
          warrant such a reduction.” 18 U.S.C. § 3582(c)(1)(A). A court may grant
          compassionate release when (1) a petitioner has exhausted administrative
          remedies; (2) “extraordinary and compelling reasons warrant [ ] a reduction” of
          the originally imposed sentence; (3) a reduction is consistent with applicable
          policy statements issued by the Sentencing Commission; and (4) the factors
          outlined in 18 U.S.C. § 3553(a) weigh in favor of a reduction. Id.

 United States v. Vasquez, No. 08-CR-00065 (RJD), 2021 WL 681174, at *1 (E.D.N.Y. Feb. 22,

 2021).

          In determining whether “extraordinary and compelling reasons” exist, the Court is

 “free[] … to consider the full slate of extraordinary and compelling reasons that an imprisoned

 person might bring before them in motions for compassionate release.” United States v, Brooker,

 976 F.3d 228, 237 (2d Cir. 2020). Although 28 U.S.C. § 994(t) states that “[r]ehabilitation

 ... alone shall not be considered an extraordinary and compelling reason,” (emphasis added),

 rehabilitation in combination with other factors can serve as sufficient reasons for the

 reconsideration of a prior sentence. Indeed, as the Second Circuit made clear in Brooker,

 “[rehabilitation] arguments may also interact with the present coronavirus pandemic, which

 courts around the country, including in this circuit, have used as a justification for granting

 some sentence reduction motions.” Brooker, 976 F.3d at 238. See also United States v. Rodriguez,

 2020 WL 5810161, at *4 (S.D.N.Y. Sept. 30, 2020) (JSR) (“But as the Second Circuit recognized

 in last Friday's decision, while rehabilitation alone is insufficient, it can interact with the

 present coronavirus pandemic to create an extraordinary and compelling reason for a sentence

 reduction.”) (citing and quoting Brooker).

          Once the Court finds that extraordinary and compelling reasons under 18 U.S.C. §

 3583(c)(1)(A) exist, the Court must then consider whether a reduction would comport with any
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 applicable policy statement issued by the Sentencing Commission,2 and, more importantly, with

 the sentencing factors set forth at 18 U.S.C. § 3553(a).



         B. The COVID-19 Pandemic and its effect on Mr. Baslan, combined with his
            exceptional efforts at rehabilitation, establish extraordinary and compelling
            reasons for a sentence reduction


             1. COVID-19

         At this point, more than a year after the onset of the COVID-19 pandemic, this Court

 needs no convincing of the devastating effect the pandemic has had on the country generally,

 and on those locked up in this country’s prisons more specifically. The COVID virus hit U.S.P.

 Tucson, Mr. Baslan’s facility, particularly hard. According to the BOP’s own statistics, since

 the onset of the pandemic, 890 inmates at U.S.P. Tucson have tested positive for COVID and

 eventually recovered. See BOP: COVID-19 Update. The penitentiary houses 1260 inmates; in

 other words, over 70% of inmates at U.S.P. Tucson contracted the virus, in addition to 118 staff

 members. Even worse, 10 inmates have so far died from the virus at U.S.P. Tucson. See id.

         The facility’s unsurprising response to these massive outbreaks was to lock the entire

 inmate population down. For more than one year, Mr. Baslan and his fellow inmates have, for

 most hours in the day, been locked into their tiny cells – experiencing a kind of imprisonment

 that in normal times is reserved for those who seriously violate prison rules. For more than a

 year, Mr. Baslan has had limited access to the outdoors, to exercise, to programming, to the



 2The applicable policy statement “essentially restates the requirements of the compassionate-release

 statute, adding only that a sentence reduction is warranted only if ‘[t]he defendant is not a danger to
 the safety of any other person or to the community.’” United States v. Torres, 2020 WL 2815003, at *8
 (S.D.N.Y. Jun. 1, 2020).




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 kinds of experiences that make prison bearable. It has been an absolutely horrific time, and

 certainly not the kind of incarceration the Court envisioned when it sentenced Mr. Baslan more

 than six years ago. See e.g. Rodriguez, 2020 WL 5810161, at *3 (internal citations omitted)

 (“the federal prisons, as prime candidates for the spread of the virus, have had to impose

 onerous lockdowns and restrictions that have made the incarceration of prisoners far harsher

 than normal.”).

         The pandemic alone, which is far from over, has convinced some courts that the dire

 threat posed by the coronavirus to those in prison, especially to those incarcerated in facilities

 where the virus has taken hold, to be “extraordinary and compelling” under 18 U.S.C. §

 3582(c)(1)(A)(i). See e.g. United States v. Ozols, No. 16-Cr-692 (JMF) at 2 (S.D.N.Y. June 2,

 2020) (“as numerous courts have concluded, the threat of COVID-19 to those in prison

 constitutes an extraordinary and compelling reason for compassionate release.”); United States v.

 Pena, No. 15-CR-551 (AJN), 2020 WL 2301199, at *4 (S.D.N.Y. May 8, 2020) (“As this Court

 has explained, the COVID-19 pandemic presents an extraordinary and unprecedented threat to

 incarcerated individuals.”).

         Many more courts have concluded that the COVID-19 pandemic combined with

 a defendant’s high-risk conditions recognized by the CDC may constitute extraordinary and

 compelling reasons. See e.g. United States v. Cato, No. 16-CR-326 (ARR), 2020 WL 5709177, at

 *4 (E.D.N.Y. Sept. 24, 2020) (collecting cases). Mr. Baslan suffers from health conditions that

 increase his risk of serious illness if infected with COVID-19. For one, he is afflicted with

 chronic asthma and uses an inhaler on an as-needed basis. See Baslan Medical Record Excerpt,

 Exhibit E.3 Despite several unsuccessful rounds of vaccination since childhood, Mr. Baslan is



 3 This exhibit is redacted in the publicly filed version of this memorandum.



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also diagnosed with a chronic Hepatitis B infection. Luckily, his case has remained dormant for

several years, but could flare up again without warning. Compounding these concerns is Mr.

Baslan’s rheumatoid arthritis (RA). RA is a chronic autoimmune disorder that causes painful

inflammation of the joints and other body parts, which Mr. Baslan has lived with for at least the

past 7 years. In mid-March 2021, Mr. Baslan began treatment of his RA using Orencia

(Abatacept), a prescription immunosuppressant injected once weekly to decrease swelling and

temporarily relieve pain. See id. According to the CDC, “[p]eople with weakened immune

systems are at higher risk of getting severely sick from [COVID-19].”4 To make matters

worse, as Mr. Baslan’s body adjusts to immunosuppression, he could experience reactivation of

his chronic Hepatitis B infection with potentially serious consequences. According to one

journal article, “Patients with active or inactive disease or resolved HBV [Hepatitis B]

infection are at risk for reactivation with immunosuppressive therapy use. HBV reactivation

varies from a clinically asymptomatic condition to one associated with acute liver failure and

death.”5

       As noted, the COVID pandemic is one of the full slate of factors the Court can consider.

However, in combination with his exceptional rehabilitative efforts detailed below, as well as

other factors such as the length of his sentence and his deportation from this country at the

conclusion of his term, the COVID related factors serve as extraordinary and compelling

reasons to reduce Mr. Baslan’s sentence.




4 See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/immunocompromised.html.
5 See https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4119588/.



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            2. Rehabilitation

         As will be documented extensively below, Bebars Baslan has used his almost six years at

the federal penitentiary in Tucson, Arizona, better than most. But not that long ago, Mr.

Baslan was a repugnant man who had committed repugnant acts he failed to acknowledge and

express remorse for. He deserved a long prison sentence. How transformative could his

rehabilitative efforts really be?

         I urge the Court to begin its evaluation by reading Mr. Baslan’s letter to the Court. See

Exhibit F. To me, who did not know Mr. Baslan in 2013-2015, it reads as an authentic

expression of a man who has begun to come to terms with his crimes, with his own character,

and is passionately dedicated to improving himself. To the Court, without the benefit of seeing

the evidence that supports his transformation, and still cognizant of Mr. Baslan’s talents as a

manipulator, the letter may read as less genuine. Whether it does or does not, I then urge the

Court to immerse itself in the documentary evidence of Mr. Baslan’s efforts in prison – his

participation in programs dedicated to self-improvement, drug treatment, sex offender

treatment, his mentoring of other inmates, his matriculation in all kinds of classes available to

him, his artistic pursuits, and much more. I urge the Court to read the letters submitted by his

fellow inmates, who can most closely describe the person Mr. Baslan has become, and those by

his counselors who have witnessed his progress firsthand. Lastly, I urge the Court to read Mr.

Baslan’s letter again. Hopefully, in light of all the other information available to the Court, the

letter will resonate and will offer a window into Mr. Baslan’s soul that will persuade the Court

that he deserves a second chance. That had the Court been able to see back in 2015 what Mr.

Baslan was capable of under the right circumstances, the sentence might not have been as

harsh.




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       Mr. Baslan arrived at U.S.P. Tucson in 2015 nearing 40 years old and not expecting to

be released until his early 70s. The transition to prison life was not easy. As he described in

his letter to the Court, Mr. Baslan began participating in programming with the wrong

intentions and attitude. See Exhibit F. But slowly, over time, Mr. Baslan’s activities began to

change him. The rehabilitative programs started to have their desired effect, as did Mr.

Baslan’s willingness to look into himself, to try to understand the issues and circumstances that

had brought him to this point in his life. As is evident in the attached letters from fellow

inmates, peer mentors, counselors, and other prison staff, Mr. Baslan has truly devoted himself

to exercising his creativity, intellect, and spirituality, addressing his history of substance abuse,

analyzing and understanding the consequences of his past behavior, and forging strong

relationships between and with his peers. Based on this evidence, one can conclude that even

though it seemed hardly conceivable in 2015, Bebars Baslan appears to be on the road toward

rehabilitation and transformation.



                       (a) Mr. Baslan Participates in the Challenge Program

       Perhaps most indicative of Mr. Baslan’s efforts is his passionate dedication to the

Challenge Program, first as a participant and now as a mentor. According to the Bureau of

Prisons First Step Act Approved Programs Guide, “inmates [in the Challenge Program]

participate in interactive groups and attend community meetings while living in a housing unit

separate from the general population. In addition to treating substance abuse disorders and

mental illnesses, the program addresses criminality, via cognitive-behavioral challenges to

criminal thinking errors.” 6



6 See https://www.bop.gov/inmates/fsa/docs/fsa_program_guide_202010.pdf.



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       Participating in the Challenge Program entails living for one year in a unit separate

from the general population, with mentors and other participants. Mr. Baslan started in the

Challenge Program in 2016, with the intention, as he confessed in his letter, of “faking it.” See

Exhibit F. This was not lost on his counselors, who noted that while Mr. Baslan

“demonstrated an eagerness to perform well in the Program,” he “did not experience the

application of the Criminal Thinking Errors until the end of Phase I, when he actually began to

recognize the Errors in his own thought patterns, past and present. Mr. Baslan began to

request feedback, but would sometimes question it or have difficulty accepting it.” See Exhibit

G, Challenge Treatment Summary.

       Still, with time, Mr. Baslan began to make considerable personal progress as he

advanced through the program. His counselor writes: “In Phase II, Mr. Baslan demonstrated

the ability to utilize RSA’s and the 5 Rules of Rational Thinking to both past and present

situations. He began to use the tool on a regular basis and also volunteered to assist peers with

their recoveries by assisting them with learning how to use the tool[s]. Mr. Baslan reported

improved clarity in his thinking processes and was able to avoid criminal behavior.” As part of

Mr. Baslan’s progress, his counselor observed a heightened sense of self-awareness about him:

“He reported that he recognized a historical presence of Mollification and Entitlement in his

thinking. […] He also demonstrated an increased desire for transparency and asked his peers

to hold him accountable if they observed him engaging in criminal activity or entertaining

Criminal Thinking Errors.” Id.

       In the last phase of his participation in the Challenge Program, Mr. Baslan truly

embraced and began to embody the program’s rehabilitative philosophy. His counselor writes:

“In Phase III, Mr. Baslan experienced a significant amount of empathy for his victims and all of

those impacted by his criminal behavior. He was visibly moved in several groups and expressed


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remorse and understanding of the impact of his past actions. He experienced emotions of

sadness and guilt and processed these emotions in Process group.” His counselor also noted

specific improvements in Mr. Baslan’s thought patterns: “He received feedback from his peers

in a calm manner and questioned the feedback less than he had earlier on in the Program. […]

He continued to discuss the consequences he experienced due to his criminal actions and shared

these consequences openly with the Community. By the end of Phase III, Mr. Baslan exhibited

a strong understanding of the Criminal Thinking Errors in his own thought processes and the

ability to use tools to correct them.” Id.


                       (b) Mr. Baslan’s Progress in the Challenge Program is Evident to His
                           Counselors
       It is also notable that Mr. Baslan consistently sought to help his peers achieve their

goals in the Program. His counselor reports that Mr. Baslan’s relationships with his peers and

mentors grew stronger and more meaningful as he advanced through the program. “In Phase

II, Mr. Baslan maintained active participation in the Community via serving as a visible

member in unit committees. He also served on several peers’ Accountability Teams as well as a

Healthy Ally to assist in resolving conflicts on the unit. […] By the end of Phase II, Mr.

Baslan had completed a person-to-person pull-up as well as a self-pull-up. He also successfully

completed an Action Plan with his own Accountability Team and was a supportive member of a

peer’s Accountability Team.” Id. A pull-up is an accountability technique introduced and

practiced in the Challenge Program in which a peer calls out a fellow peer for criminal or

erroneous conduct in front of the entire Challenge community. Daily pull-ups incentivize

inmates not to engage in criminal behavior, since their peers will call them out. Mr. Baslan has

wholeheartedly embraced the practice of pull-ups and encourages his peers to do the same.




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       By the time he reached the last phase of the program, he had found a true home for

himself in the program. According to his counselor, “In Phase III, Mr. Baslan increased his

overall participation via joining the Topics Group committee, along with maintaining his

membership to the Art & Fitness committees. He continued to actively contribute to group

discussions and would regularly demonstrate caring to peers via providing constructive

feedback and support. Mr. Baslan also presented in Community Morning Meeting and would

represent the Challenge Program with a positive attitude after hours on a consistent basis. He

regularly reached out to peers, completed all homework assigned, and would volunteer to assist

staff with duties, such as cleaning the unit, preparing for institutional tours, planning unit

events, etc.” Id. In other words, Mr. Baslan began taking advantage of his opportunity to

contribute meaningfully to a positive, social, and therapeutic environment.

       His counselor also wrote of the progress Mr. Baslan made in addressing his history of

substance abuse during his year in the program. “Mr. Baslan was able to identify many of the

consequences he had experienced due to his past substance abuse and committed to maintaining

his sobriety. In Phase II, Mr. Baslan worked on managing his emotions in lieu of escaping them

or self-medicating. He identified emotional triggers in Process groups, including fear,

perceptions of inadequacies, discomfort with discomfort, etc. In Phase III, Mr. Baslan continued

to maintain his sobriety and also provided support to several peers with their substance abuse

recoveries. He identified the self-serving components in his past drug use [and] reflected on

the manner in which substance abuse contradicts his current values and goals.” Id. See also

Exhibit H, Challenge Community Learning Achievement certificates.

                       (c) Mr. Baslan’s Success as a Peer Mentor Earns Praise from Challenge
                           Program National Coordinator
       Mr. Baslan graduated from the Challenge Program in December 2017. Since then, he

continues to reside in and contribute to the Challenge community as a peer mentor. Dr.
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Meredith Mitstifer, now the BOP’s national coordinator of the Challenge Program, had the

pleasure of overseeing the entire duration of Mr. Baslan’s participation and mentorship in the

program before assuming her new title in November 2020. In her case note, Dr. Mitstifer

describes Mr. Baslan’s role: “Given his commitment to both himself and the MTC [Modified

Therapeutic Community], Mr. Baslan was selected as a mentor […]. The role of mentor

consists of various responsibilities which include but are not limited to: assisting [6-10] new

participants with the MTC mission, attitudes and core values of the program, daily community

meetings, monthly supervision, facilitating process groups for both wait and complete status

members, assisting treatment specialists with journal groups, facilitating successful mediations

within community members, and remaining discipline free.” See Exhibit I, Case Note from Dr.

Mitstifer.

       Dr. Mitstifer has effusive praise for Mr. Baslan: “In addition to his strengths, [Mr.

Baslan] clearly demonstrates an ability to effectively balance his roles so his self-care is not

compromised and he maintains an excellent peer model to the MTC. His reliability and

maturity are a community asset. Mr. Baslan continues to be an active participant in his own

treatment and genuinely works to improve his character daily. He is able to acknowledge errors

in his thinking patterns which led to his incarceration, and demonstrates this growth and

change by assisting others to do the same. Mr. Baslan also continues to demonstrate an

excellent institutional record with no discipline while continuing to reside in a high-security

setting. This pattern of good conduct over a long period of time validates his commitment to

following the rules and doing the right thing.” Id.

                       (d) Peer Mediation and Conflict Resolution

       One of the techniques Mr. Baslan and other Challenge Program participants use to

resolve conflict is called peer mediation. Mr. Baslan describes his role as a mediator, one of his


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many responsibilities as a mentor in the Challenge program: “Imagine two inmates in a high

security institution [… who] threatened each other with bodily harm, most likely [the

mediator breaks] up an almost fight. The mediator then meets with them separately [a] few

time[s], [they] process their emotions, [the mediator] coaches them to assertively express

their needs and [tells them] what they could have done better. Then [the mediator] set[s] up

a joint meeting […] to reach a resolution. I love doing mediation, [in] a busy week [I do] 3-4

mediations.” Exhibit J, Mr. Baslan’s description of mediation. See also Exhibit K, Mediation

Committee certificates. Helping other inmates resolve their conflicts peacefully has been a

highly rewarding experience for Mr. Baslan.

       One fellow inmate and peer at U.S.P. Tucson writes of Mr. Baslan’s influence in leading

mediations: “Mr. Baslan empowered myself and many others to join the Mediation Committee.

He assisted our training in the use of Party-Directed Mediation wherein we help others to seek

peaceful resolutions. Through valuable skillsets such as assertive communication, empathic

listening, [S]ocratic questioning, and role-owning, we empower others to resolve future

conflicts on their own without resorting to violence or aggression. Mr. Baslan has taught many

impactful classes such as his ‘Empathy’ class where he teaches others what empathy is and why

it’s so important, the value of understanding and compassion and guides people to see the full

extent the ripple effect of their crimes had [sic.] on others. He doesn’t just teach, he leads by

example. An example I work hard to follow.” See Exhibit L, Letter from James Spiotto II.

                       (e) Mr. Baslan’s Peers Acknowledge His Positive Influence on the Community

       It is clear from the letters submitted on Mr. Baslan’s behalf by fellow inmates and peers

in the Challenge Program that he offered a substantial amount of support and positive influence

to them. One former mentee writes, “I am blessed to have witnessed Mr. Baslan’s journey

through treatment and grateful to have had him as a close friend. I personally view Mr. Baslan


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as the model of responsibility and humility I aspire to be in the future.” See Exhibit M, Letter

from Christopher Cavna. Another writes, “In the capacity of a mentor, Bebars has shown

himself to be an excellent role model to program participants and other mentors, myself

included. His enthusiasm and empathy to help others is invaluable. […] He shares his unique

and successful adaptation to prison life and guides others to find their own success through

meaning and purpose. He believes in the power of change, because he has experienced it.” See

Exhibit N, Letter from Steven P. Arthur.

       Yet another former mentee writes, “Mr. Baslan is one of my safe harbors. He’s someone

I can trust to be honest an[d] objective with me. He’s demonstrated that he’s willing to put as

much effort, if not more[,] into my treatment as I’m willing to put into my own. Not only does

this community rely on Mr. Baslan, we depend on him to guide an[d] advi[s]e us, especially in

difficult situations. […] I witness him on a daily basis assist[ing] others with the core values

of the program, facilitat[ing] successful mediations within the community, help[ing]

treatment specialist[s] with their journal groups. […] He’s inspired me to become part of the

solution, not the problem. He taught me when I didn’t like what I see, to change the way I’m

looking at it. He’s been very supportive to me, even when I struggle the most. I’m grateful to

have met him.” See Exhibit O, Letter from Desmond Stowers.

       Still two more of Mr. Baslan’s former mentees have written attached letters regarding

Mr. Baslan. One writes, “[Mr. Baslan] became a major piece in my change. [He] has helped me

work [through] my PTSD, aggressive behavior issues. […] Mr. Baslan continues to be there

for me. I am genuinely grateful for the time & effort Mr. Baslan has invested in my life. […]

[He] leads with integrity [b]y holding other members in the program accountable for

negative behavior. […] Mr. Baslan is dedicated to identifying his mistakes & thinking errors

and puts forth immense effort to change them.” See Exhibit P, Letter from Lemajani Voa. Last,


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and perhaps most impressive of the testimonials of Mr. Baslan’s former mentees, is that of

Randy Gometz, an ex-member of the original Aryan Brotherhood, a violent white supremacist

gang. When he first got to the Challenge Program, Mr. Gometz writes, “[m]ost [of the

participants and mentors] were afraid of me. There were only 3 men who were the exceptions,

and Baslan was the one in front and leading the others. […] I can tell you he is a kind,

compassionate, empathetic, generous, caring, helpful, intelligent, and highly respected man in

both the eyes of staff and inmates alike. I tell you this candidly: without his help I’d have

crashed out of this program almost on a weekly basis. And it’s not just with me either. It’s with

anyone in need. […] He’s genuinely the poster boy for the BOP to ask the Appropriations

Committee of Congress to finance more Challenge Programs throughout the country.” See

Exhibit Q, Letter from Randy Gometz.7

        Mr. Baslan’s fellow peer mentors similarly recognize Mr. Baslans’s positive influence.

One, who is also Mr. Baslan’s former cell mate, writes, “I was inspired by Baslan’s vulnerability,

empathy, seemingly ceaseless willingness to help others and his desire for personal growth.

[…] I am grateful to have found meaning and purpose in my life and to have a positive effect

on others in such a negative environment. I thank Mr. Baslan for helping lead [me] and so

many others down a road of personal redemption […].” See Exhibit L. Another fellow peer

mentor writes, “[Mr. Baslan] is very self-aware and empath[et]ic with others. […] I see Mr.

Baslan working to better himself daily [by] working with difficult people and using his own

example to assist others in their recovery. […] [He] provides outstanding guidance and is a

model for others to follow. […] He has mastered many emotional self-regulation skills and is




7 I strongly urge the Court to read this letter in its entirety.   It is one of the most remarkable reference
letters I have ever come across.

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very conscious of how his past behavior ha[s] affected his victims.” See Exhibit R, Letter from

Scott Herrick.

       One of Mr. Baslan’s mentors when he first joined the Challenge Program reflects on the

transformation he has seen in Mr. Baslan: “Over the course of 4 years, Mr. Baslan mas made

tremendous progress in his treatment. Most not[a]bly, he has developed a willingness to be

open and honest about his struggles and treatment needs, as well as a humbleness to receive

help. This has not only enabled him to build a repe[r]toire of effective coping skills and a

comprehensive Recovery Maintenance Plan, but has also served as a model for others to be

vulnerable in their treatment. […] He is a careful listener and exercises great empathy when

mentoring others. He is sought out by many for his relatability, sound advice, and equally

matched vulnerability. He is usually the first person I go to when I need help or just a listening

ear.” See Exhibit S, Letter from David Ettlinger. It is a testament to Mr. Baslan’s resilience,

hard work, and empathy that he now provides emotional support to those who supported him

when he first joined the program.

       As these letters demonstrate, Mr. Baslan has touched many lives since becoming a

mentor in the Challenge Program. Those who have known him for years attest to the genuine

and significant progress he has made implementing the program’s philosophy and practices in

his daily life. Mentees and fellow mentors alike acknowledge his empathy, courage, and

dedication to improving the lives of his fellow community members. His rehabilitation through

the Challenge Program has been, and will continue to be, fulfilling and successful.

                       (f) Mr. Baslan’s Self-described Lessons from the Challenge Program

       Although it may have started that way, Mr. Baslan’s continued dedication to the

Challenge community was not a ploy to earn praise. He detailed his transformative experience

in the Challenge community in an article published in the Challenger Newsletter (a prison-wide
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periodical containing inmate-submitted articles describing and promoting the Challenge

Program). He writes: “The realization took place as I started my journey of self-reflection and

opened myself to feedback from my Challenge program peers. As my view of self became more

accurate, I started to understand my limitations and how often I pushed myself in the past to

unhealthy levels in order to avoid potentially painful subjects. . . .Guilt and remorse surfaced. I

began to see my old behavior in a new context. Things that were a source of pride became

points of pain and regret. I realized how I hurt others. I would stay up for hours at night

reflecting on my life in horror, as though in surprise; as though this was new.” Exhibit T, Mr.

Baslan’s newsletter article.

       Mr. Baslan’s commitment to change is also reflected in introspective observations he

wrote on “Anger Management and Sexual Offending,” recorded as part of his participation in

the Challenge Program: “As I learn to regulate my emotions, and resolve or accept inner

conflicts that lead to anger, I would be more others-centered and keep in mind the needs of

others. I would remain as I am now: averse to harming others. As my self-esteem improves,

healthy relationships are easier to form, and are very fulfilling. I am focusing on character

development rather than sexual pursuits in order to validate my self-value.” See Exhibit U.

                       (g) Mr. Baslan Has Taken Advantage of All Programming Available to Him

       The Challenge Program, however, has not been Mr. Baslan’s only source of personal

growth since his incarceration. In 2017, he volunteered to help with several elements of the

Inmate Health Fair, an annual health and fitness competition organized by the prison’s

recreation staff. Mr. Baslan organized the performance of a live inmate band, painted a mural to

be used as a backdrop in a photo booth, participated as an instructor in several exercise groups,

and encouraged high rates of participation in the Health Fair. That year, the inmates

collectively lost over 2,200 pounds during the fair. For the next two years, Mr. Baslan was


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named the Lead Inmate Coordinator and formed a committee of inmates to facilitate various

functions and take on leadership roles. In 2018, Baslan’s Health Fair partnered with “El Tour

de Tucson,” an indoor cycling competition, and managed to make a substantial anonymous

donation to a children’s charity. See Exhibit V.

       Mr. Baslan has also volunteered for therapeutic programs outside the Challenge

community. He is currently on the waitlist for a spot in the year-long residential Sex Offender

Treatment Program (SOTP) at U.S.P. Tucson and has completed all of the adjunct therapeutic

and treatment groups offered to individuals on the waitlist. See Exhibit W. He has also

completed several ancillary modules to the Challenge Program. In July 2018, he completed the

Criminal Thinking module, in October 2018, the Communication Skills module, in February

2019, the Pre-Treatment Journal module, and in May 2019, the Anger Management module.

See Exhibit X. Mr. Baslan also participated in a 14-hour Victim Impact Class. See Exhibit Y.

       One of the programs to which Mr. Baslan has contributed significantly is called “Angry

All the Time: An Emergency Guide to Anger Control,” which is a peer-led ancillary group of

the Challenge Program for “people in the community who struggle(d) with anger or violence,”

according to Mr. Baslan. After completing the program in November 2018, Mr. Baslan became

a graduate participant to model conduct to newcomers, and in May 2019 became a facilitator.

He currently manages the group and helps train peer facilitators. See Exhibit Z.

       Since his arrival at U.S.P. Tucson, Mr. Baslan has also taken extensive advantage of the

prison’s creative and educational programming. In 2015, he completed classes on watercolor

painting, yoga, and acrylic painting (two classes); in 2016, classes on drawing (two classes),

beading (two classes), art history (two classes), piano, charcoal drawing, watercolor painting (a

second class), and drawing dynamic shadows; in 2017, classes on the Middle East, Russian

Tsars, and islands; in 2018, a class on financial peace, and in 2020, classes on personal


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development, leadership, preparing for release (two classes), and money management. See

Exhibit AA, recreational programming certificates.

       Mr. Baslan has contributed his considerable creative talents to several events at U.S.P.

Tucson. In August 2015, he served as the videographer for Inmate Inclusion Day and in

August 2016, he participated in the Inmate Inclusion Day skit, talent show, and musical

performances. From April 2018 to June 2019, he contributed over 150 hours to painting a

mural in the chapel, and in April 2019, he sang in U.S.P. Tucson’s first ever concert choir

performance. See Exhibit BB, documents relating to Inmate Inclusion Day, Health Fair, and

creative programming. Furthermore, Mr. Baslan has taken advantage of faith-based courses

available through the Orthodox Christian Prison Ministry. In August 2017, he completed a

“Seeker of Truth correspondence course;” in September 2019, a course on the preaching of the

Apostles, and in December 2019, a course on the Orthodox Christian Catechism. See Exhibit

CC, religious studies certificates.

       Notably, Mr. Baslan also voluntarily completed both U.S.P. Tucson’s drug education

program as well as the Non-Residential Drug Abuse Treatment Program, a 12- to 24-week

program designed for inmates who are either waiting to be placed into RDAP (Residential

Drug Abuse Program) or who do not qualify for RDAP. See Exhibit DD, NRDAP and drug

education certificates. Mr. Baslan’s deportation status and charges of conviction likely

disqualify him from participating in RDAP; however, he has benefitted greatly from NRDAP

and plans to submit for RDAP regardless of his eligibility.

                       (h) Mr. Baslan’s Connection to Spirituality

       Mr. Baslan has also connected strongly with his spirituality in recent years. In February

2019, he completed the nine-month Threshold Program, designed to “build[] nine strong

foundations for a spiritual life at [U.S.P.] Tucson,” and in November 2019 completed his first

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nine-month term as a mentor in the Threshold Program, assisting new participants in learning

the foundations for a spiritual life. See Exhibit EE. He has also worked in the U.S.P.’s Chapel

for several years, first as an orderly and then as Library Assistant. Chaplain J. Dominguez

wrote in August 2019 that Mr. Baslan “took on tasks with decisiveness and expediency, often

taking initiative and rarely requiring supervision. […] Under every circumstance, [Mr.]

Baslan acts with tact and professionalism towards staff and inmates. […] Respectable work

ethic and a true desire to become an asset to society make him an asset to any hardworking

team.” Exhibit FF.

       In July 2020, Supervisory Chaplain S. Martin wrote a glowing review of Mr. Baslan’s

work and character: “Few [inmates] are as dedicated and caring as Mr. Baslan. […] He has

developed into a man of understanding by evaluating his past action, taking responsibility and

then having the courage to change. […] He is an example for others to follow and many men

seek his advice when they have difficulty working through challenging situations. […] Mr.

Baslan’s desire to improve is constant. He was moved to […] serv[e] as a Threshold leader,

which is designed to prepare inmates to make better decisions, enhance community reentry, and

encourage[] positive life changes. […] I wish I had more orderlies like Mr. Baslan. He is

smart, personable, and dedicated. I know that he has a bright future ahead of him.” See Exhibit

GG.

       The head orderly at the chapel, who has known Mr. Baslan since 2015, was also full of

praise. “After witnessing Bebars Baslan’s commitment to faith, sobriety, sexual purity, self-

improvement, and service, I invited him to join our carefully selected chapel crew. […]

[Baslan] used his gift and skills to improve our chapel. He painted the entire chapel and

decorated it with beautifully impressive murals. He organized our audio and video equipment,

[and] assisted to create a video self-study program that benefits inmates of all religions.


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Finally, for his outstanding performance, Bebars Baslan was selected by the Supervisor

Chaplain for the coveted job of Chaplain Librarian (his current job). […] I am convinced, based

on what I have seen, of the transformation and rehabilitation that Bebars Baslan has achieved.”

See Exhibit HH, Letter from Arturo Ochoa.

                      (i) Mr. Baslan is a Model Inmate

       As the Court is likely aware, with the enactment of the First Step Act in 2018, all

federal inmates were assessed using the PATTERN instrument to determine recidivism risk.

Mr. Baslan was determined by this tool as exhibiting minimal risk to reoffend. See Exhibit II.

As his chaplains and counselors correctly point out, Mr. Baslan does not have a single

disciplinary infraction since he entered the Bureau of Prisons. He currently qualifies for

housing in a medium-security facility but has remained at high-security U.S.P. Tucson

voluntarily, in order to continue to reside in the Challenge community unit.



                                               ***

       In sum, contrary to the reasonable expectations of this Court and probably all who

knew him six years ago, Mr. Baslan has exhibited nothing short of exemplary behavior during

his time at U.S.P. Tucson. Despite being a sex-offender in a maximum-security penitentiary, he

has managed to avoid conflict, has studiously followed the rules and conformed his behavior to

institutional norms, and has thereby avoided receiving even a single disciplinary infraction. He

has transformed into a genuine believer in the rehabilitative powers of group therapy,

introspection, education, and spirituality. Not only has he worked on his own attitude and

thinking process, he has also devoted his time through mentorship in the Challenge Program

and the Threshold Program to assisting others to do the same. He looks forward to spending

the next period of his incarceration coaching a new group of peers at a new facility through the
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Challenge Program and touching as many lives thereafter as he can. See Exhibit F, Mr. Baslan’s

letter to the Court.

       Mr. Baslan’s outstanding rehabilitative efforts, in combination with the unparalleled

devastation and fear wrought by the COVID pandemic inside of this country’s prisons, and its

particular effect on him, meet the extraordinary and compelling reasons standard of 18 U.S.C. §

3582(c)(1)(A). Indeed, recognizing that rehabilitation alone was precluded by statute as a

sufficient reason under § 3582, the Second Circuit in Brooker all but invited district courts to

combine exemplary rehabilitation with pandemic related factors to meet the § 3582 standard.

See Brooker, 976 F.3d at 237–38 (“Moreover, these arguments may also interact with the

present coronavirus pandemic, which courts around the country, including in this circuit, have

used as a justification for granting some sentence reduction motions.”).

       A recent decision by Judge Rakoff in the Southern District is instructive because it

addressed the same issues raised here. Using Brooker as a model, Judge Rakoff reduced the

mandatory life sentence imposed on the defendant in 2004 for a brutal torture murder to 30

years. See United States v. Rodriguez, No. 00 CR. 761-2 (JSR), 2020 WL 5810161 (S.D.N.Y. Sept.

30, 2020). The court based its conclusion on three grounds. First, Rodriguez was clinically

obese and suffered from Type II diabetes, conditions that placed him at greater risk of serious

illness if he contracted the virus. See id. at *3. Second,

       the effects of the pandemic, Rodriguez’s health, and his rehabilitative efforts in
       the pandemic, aside from posing a threat to Rodriguez's health, has made
       Rodriguez's incarceration harsher and more punitive than would otherwise have
       been the case. . . . For someone with Rodriguez's health profile, the risk of
       suffering severe health consequences if he contracts COVID-19, coupled to the
       severe conditions imposed by the concomitant lockdowns and restrictions that
       are necessary to ensure Rodriguez's safety, means that the actual severity of
       [Rodriguez’s] sentence as a result of the COVID-19 outbreak exceeds what the
       Court anticipated at the time of sentencing. While insufficient on its own, this
       second factor also weighs in favor of a finding of extraordinary and compelling
       reasons.


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Id. (internal citations omitted). Third, “and here highly relevant, the overwhelming evidence

of Rodriguez's total rehabilitation weighs strongly in favor of a finding of extraordinary and

compelling reasons.” Id. at *4. Citing to a mass of letters by fellow inmates, and, most

importantly, prison staff, the Court concluded that it was “clear that Rodriguez has used his

twenty years in prison not just to better himself but also to better his community.” Id. A

similar conclusion could be reached here.



II.    A Sentence Reduction is Consistent with the Sentencing Considerations of 18
       U.S.C. § 3553(a)


       If the Court agrees that extraordinary and compelling reasons exist to reduce Mr.

Baslan’s sentence, it must next determine whether, and if so, by how much it should reduce the

sentence. In so doing, the Court must consider what kind of reduction is appropriate in light of

the sentencing factors of 18 U.S.C. § 3553(a). This is a decision that sits entirely in the Court’s

capable hands. The government will undoubtedly oppose this motion, arguing that the

sentencing factors in § 3553(a)(2)(a-c) – providing just punishment, affording adequate

deterrence, and protecting the community from the defendant’s future crimes – overwhelm all

others. It is worth noting, however, that nothing has changed since 2015 to make Mr. Baslan’s

case more serious. Since then, circumstances have changed significantly, but only in Mr.

Baslan’s favor – including his spotless prison record, his rehabilitative and personal growth,

and his experience of having to endure the horror of the COVID pandemic inside a prison.

Thus, the only question is whether the sentencing factors favored by the government must lead

to the inexorable conclusion that Mr. Baslan’s 36-year sentence is sufficient and not greater

than necessary, despite the powerful evidence provided here that he is transforming himself,

feels tremendous remorse and guilt, and has taken substantial steps toward redemption. We


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strongly urge the Court to determine that in light of the evidence now before the Court, a 36-

year sentence is greater than necessary to satisfy the requirements of 18 U.S.C. § 3553(a).8

        No one, least of all Bebars Baslan, is arguing that the eight years he has spent in prison

are sufficient, or that his rehabilitation is complete. But the person whom this Court, in 2015,

believed was likely beyond redemption, in fact appears to have begun the painful and lengthy

process of clawing his way back. The years, and in particular his participation in these

therapeutic programs, have allowed Mr. Baslan to think, to examine himself, to consider how

he could have perpetrated such reprehensible crimes. Words of remorse often ring hollow, and

a journey toward redemption is a long one, but Mr. Baslan appears to be putting in the work,

the therapy, analysis, self-evaluation required to come to grips with his crimes, and to try to

live a decent and productive life.

        Most of the time, sentencing courts determine the likelihood of rehabilitation and

redemption only prospectively, with the hope that it will occur. Here, the Court can see for

itself the dramatic shift Mr. Baslan has undertaken, and the commitment he has demonstrated

for the last six years to live a good and meaningful life, despite the circumstances he finds

himself in. When the Court sentenced Mr. Baslan in 2015, its disgust with him and his crimes

was palpable. But even in its stern imposition of a very long sentence, the Court expressed a

glimmer of hope that while Mr. Baslan appeared to be beyond redemption and had to be put

away, “I hope it changes.” Sentence Transcript at 23, Exhibit A. What we hope to have

demonstrated here is that Mr. Baslan is doing his part to validate the Court’s glimmer.




8 Simply for the sake of comparison, the mean federal sentence for murder in the federal courts in 2019

was 255 months, and for sexual abuse was 205 months. See 2019 Annual Report and Sourcebook of
Federal Sentencing Statistics (ussc.gov)

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                                        CONCLUSION

       For the reasons set forth above, we respectfully urge the Court to conclude that Bebars

Baslan has offered extraordinary and compelling reasons to warrant a sentence reduction under

18 U.S.C. § 3582(c)(1)(A), and that a sentence reduction is consistent not only with 18 U.S.C. §

3553(a) and the applicable policy statement, but also with justice.


Dated: New York, New York
       April 5, 2021
                                                            Respectfully Submitted

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